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                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF FLORIDA
                              GAINESVILLE DIVISION

UNITED STATES OF AMERICA

v.                                               CASE NO.: 1:08-CR-39-SPM/AK-3

ALTON JAMES LAND,

     Defendant.
_________________________________/

           ORDER DENYING DEFENDANT’S MOTION FOR A NEW TRIAL

       This cause comes before the Court on Defendant’s Motion for a New Trial (doc.

112), which asserts that the Defendant should be afforded a new trial because the

evidence presented at trial was insufficient as a matter of law to sustain the guilty

verdict. The Government filed a response (doc. 113, 115). Upon consideration, the

Court finds that the Motion for a New Trial (doc. 112) should be denied.

       A court may grant a new trial under Federal Rule of Criminal Procedure 33 “if the

interest of justice so requires.” Fed. R. Crim. P. 33. Under the rule, a trial court enjoys

broad power to a grant a new trial if it concludes that a miscarriage of justice has

occurred. United States v. Hall, 854 F.2d 1269, 1271 (11th Cir. 1988).

       Having considered the arguments raised by the Defendant, the Court finds that

they are without merit. The jury was properly instructed to consider whether in fact the

Defendant’s co-defendant, Willie Dewey Keen, was acting as a government agent at

the time he engaged in overt acts in furtherance of the conspiracy as set forth in the
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indictment. The jury’s guilty verdict is not a miscarriage of justice. Accordingly, it is

hereby

       ORDERED AND ADJUDGED that Defendant’s Motion for a New Trial (doc. 112)

is DENIED.

       SO ORDERED this twenty-fourth day of August, 2009.


                                       s/ Stephan P. Mickle
                                    Stephan P. Mickle
                                    Chief United States District Judge
